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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
  CATHERINE MCKOY, MARKUS FRAZIER, and
  LYNN CHADWICK, individually and on behalf of all
  others similarly situated,

                         Plaintiffs,
               v.                                                  No. 1:18-cv-09936 (LGS)
  THE TRUMP CORPORATION, DONALD J. TRUMP,
  in his personal capacity, DONALD TRUMP, JR., ERIC
  TRUMP, and IVANKA TRUMP,

                         Defendants.


                          DECLARATION OF MARKUS FRAZIER

       I, Markus Frazier, declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the

following is true and correct:

       1.      I enrolled as an ACN Independent Business Owner (“IBO”) in 2016 and pursued

the opportunity for one year.

       2.      During my time as an ACN IBO, I was a resident of Maryland.

       3.      I relied on Donald Trump’s endorsement of ACN and his statements about the

ACN IBO Opportunity when I decided to spend $499 to enroll as an ACN IBO.

       4.      I never made any money with ACN. I did not even recover my $499 sign-up fee.

       5.      I understand that as a proposed class representative, I am responsible for

representing other ACN IBOs who, like me, relied on Trump’s endorsement and statements

about ACN and the IBO Opportunity.

       6.      I take my duties as a proposed class representative seriously. Since this lawsuit

was first filed in 2018, I have received updates about the case from my lawyers about the case.




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       7.      I have reviewed the Complaint in filed in this case. It includes allegations based

on my experience with the ACN.

       8.      I provided my attorneys information they requested for discovery and also sat for

a deposition in 2022.

       I declare under penalty of perjury that the forgoing is true and correct.


                                                     _________________________
              9 2023
Dated: March __,                                         MARKUS FRAZIER




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